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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
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Special Counsel for the Debtors and counsel to non-
Debtor Plaintiffs
                                                                     Case No. 24-13427 (SLM)
In re:                                                               Judge: Stacey L. Meisel
Supor Properties Enterprises LLC, et al.1,                           Chapter 11

                                   Debtors.                          (Jointly Administered)
Supor Properties Enterprises LLC: J Supor 136-1
Realty LLC; Supor-172 Realty LLC; Supor Properties
600 Urban Renewal, LLC; JS Realty Properties, LLC;                   Adv. Pro. No. 24-01174 (SLM)
Supor Family LLC; Supor Properties-400 Limited
Liability Company; and the Marital Trust under the
Last Will and Testament of Joseph Supor, Jr.,
                                  Plaintiffs,                        Hearing Date: May 20, 2024
                                           v.
American Dream Resorts, Ltd., RDA1: Supor                            Hearing Time: 10:00 a.m.
Properties Enterprises LLC; RDA 2&3: Supor
Properties Enterprises LLC; RDA 4: J Supor 136-
1Realty LLC; RDA 5: Supor 172 Realty LLC; RDA 6:
Supor Properties 600 Urban Renewal, LLC; Supor
Studio City 2 LLC, Supor Studio City 3 LLC; Supor
Studio City 4 LLC and Supor MT, LLC

                                   Defendants.



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Supor Properties Enterprises LLC (5580); J Supor 136-1 Realty LLC (3205); Supor-172 Realty LLC
(EIN No. 5662); Supor Properties Breiderhoft LLC (7258); Supor Properties Devon LLC (6357); Shore Properties
Associates North LLC (6707); Supor Properties 600 Urban Renewal, LLC (8604); JS Realty Properties, LLC (2497);
and Supor Properties Harrison Avenue, LLC (1728).



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                                PLAINTIFFS’ WITNESS LIST

         Supor Properties Enterprises LLC; J Supor 136-1 Realty LLC; Supor-172 Realty LLC;

Supor Properties 600 Urban Renewal, LLC; JS Realty Properties, LLC; Supor Family LLC; Supor

Properties-400 Limited Liability Company; and the Marital Trust under the Last Will and

Testament of Joseph Supor, Jr., (each a “Plaintiff” and collectively, the “Plaintiffs”) submit this

Witness List for the hearing on Order to Show Cause scheduled for May 20, 2024 at 10:00 a.m.

(See ECF Nos. 4 and 14):

I.       Witnesses

         1.    Joseph Supor, III.

         2.    Kevin Cassidy - Global International Advisors, LLC.

         3.    Lou Pontoriero - Global International Advisors, LLC.

         4.    Ben Shapiro - CBRE, Inc.

         5.    Andrea Dobin - Chapter 11 Trustee/Plan Administrator - Supor Properties Bergen

               Avenue LLC, Bankruptcy Case No. 23-15785 (SLM).

         6.    Mark Triano - employee of Harrison/Warehouse Corporation.

         7.    Any witness listed by any other party.

         8.    Any witness necessary to rebut the testimony of a witness called or designated by

any other party.




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II.      Reservations

         The identification of a potential witness on this list does not require Plaintiffs to call said

witness(es) to testify at the scheduled hearing. Plaintiffs reserve the right to not call any of the

witnesses listed herein, and further reserve the right to amend or supplement this list.

                                                     Respectfully submitted,


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                                                     David S. Catuogno, Esq (DSC-1397)
                                                     Caitlin C. Conklin, Esq. (CCC-5117)
                                                     Special Counsel for the Debtors and counsel
                                                     to non-Debtor Plaintiffs



                                                    By: /s/ Daniel M. Eliades
                                                        Daniel M. Eliades

 Dated: May 10, 2024




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